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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                           Plaintiffs,

            v.


   BED BATH & BEYOND INC.,

                           Defendant.



                               DECLARATION OF STEVE CARTER

       I, STEVE CARTER, based on my personal knowledge of the facts stated herein, testily

by Declaration as follows:

       1.        I am over the age of 18 and am otherwise competent to testify to the matters

contained in this Declaration, and if so called, would testify to the facts below.

       2.        All of the statements in this Declaration are true and accurate to the best of my

knowledge.

       3.        The facts set firth in this Declaration arc based on my own personal knowledge

and the stores that I oversee within my Region.

       4.        I became employed by Bed Bath and Beyond Inc. ("BBB") in July of 2002 as a

Department Manager. I was promoted through the ranks from Department Manner, to Assistant

Store Manager ("ASM"), to Store Manager, to District Manager, and then to my current position

of Regional Manager. I have been a Regional Manager for over 10 years, and I am currently in

charge of 37 stores in the Southeast Region across Florida, Georgia. South Carolina, and



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Tennessee. They range in volume from low to very high. Throughout the years. I have also

worked at BBBs in Michigan and have managed stores in Ohio, Kentucky, and Indiana.

       5.      During my time at BBB, I have observed many variations in the management

style of ASMs, depending on an individual ASM's personality. Some ASMs are passive in their

management role when it comes to supervising, disciplining, and managing Department

Supervisors and associates whereas other ASMs are more proactive.

       6.      The Store Manager also influences how much time ASMs spend on interviewing

and hiring. An ASM often conducts the first interview of a candidate. In my stores, the Store

Manager decides whether an ASM can perform the second interview of a candidate and/or make

the hiring decisions. ASMs who recommend strong candidates after conducting the first

interview tend to have more involvement in second interviews and hiring decisions overtime.

Conversely, some Store Managers prefer to always be involved in the hiring decisions.

       7.      Whether, and how often, an ASM serves as the Manager on Duty ("MOD") (also

known as the Leader on Duty ("LOD")), also affects an ASM's responsibilities. Serving as the

MOD means that the person designated as MOD is the decision maker for the entire store,

managing service levels, safety, applicant flow and other areas.

       8.      ASMs' day-to-day responsibilities also vary depending on the volume of the store

in which they work. In a low volume store, where there are fewer Department Supervisors and

associates, an ASM may step in and assist their associates for 20 minutes when, for example, the

store is particularly busy. In a high volume store, where there are more Department Supervisors

and associates, an ASM typically does not need to step in to assist on the floor because there are

more individuals to whom the ASM can assign and delegate this responsibility.
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       I declare under penalty of perjury that the Ibregointz is true and correct.

Executed this Aliiday of December, 201 7.


                                              By:
                                                     Stev Cz ter
                                                     Regional Manager
                                                     Bed Bath and Beyond Inc.




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